B1 (Official Form 1) (12/11)            Case 13-10545-KG                     Doc 1            Filed 03/18/13            Page 1 of 18
                                     UNITED STATES BANKRUPTCY COURT
                                                                                                                                     VOLUNTARY PETITION
                                       DistrictDistrict
                                     __________ of Delaware
                                                        of __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
 SuperMedia Inc.                                                                                N/A
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):
 Verizon Directories Disposition Corp.; Idearc Inc.                                             N/A
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                (if more than one, state all):
 5175                                                                                           N/A
 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
 2200 West Airfield Drive, P.O. Box 619810, D/FW Airport, Texas                                 N/A

                                                                    ZIP CODE 75261                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
  Dallas County                                                                                 N/A
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):
  N/A                                                                                           N/A

                                                                 ZIP CODE                                                                                   ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                         ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                              Chapter 7                  Chapter 15 Petition for
        Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                       ✔      Chapter 11                 Main Proceeding
 ✔      Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                       Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                     ✔     Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                          Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                   (Check one box.)
                                                                                                                          Debts are primarily consumer ✔ Debts are
                                                                          Debtor is a tax-exempt organization             debts, defined in 11 U.S.C.        primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States             § 101(8) as “incurred by an        business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).               individual primarily for a
                                                                                                                          personal, family, or
                                                                                                                          household purpose.”
                                Filing Fee (Check one box.)                                                                   Chapter 11 Debtors
                                                                                               Check one box:
 ✔      Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                               ✔ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                               ✔ A plan is being filed with this petition.
                                                                                               ✔ Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
 ✔         Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors (Consolidated with Affiliates)
                                                            ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-          25,001-          50,001-           Over
                                                           5,000           10,000         25,000           50,000           100,000           100,000

 Estimated Assets (Consolidated with Affiliates)
                                                                                                                                               ✔
 $0 to         $50,001 to     $100,001 to $500,001         $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000    to $1            to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                          million          million         million        million          million
 Estimated Liabilities (Consolidated with Affiliates)
                                                                                                                                               ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                                million    million         million        million          million
B1 (Official Form 1) (12/11)         Case 13-10545-KG Doc 1 Filed 03/18/13 Page 2 of 18                                                                                  Page 2
 Voluntary Petition                                                                  Name of Debtor(s):
 (This page must be completed and filed in every case.)                               SuperMedia Inc.
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
                     Northern District of Texas                                       09-31828                                          05/31/2009
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:                                                                         N/A
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:

 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
 ✔      Exhibit A is attached and made a part of this petition.
                                                                                                X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              ✔        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

              ✔        There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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/s/ Pauline K. Morgan




03/18/2013
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                               Schedule 1 to Voluntary Petition

                                        Affiliated Entities

                On the date hereof, each of the affiliated entities listed below (including the
debtor in this chapter 11 case) filed in this Court a petition for relief under chapter 11 of the
United States Bankruptcy Code, 11 U.S.C. §§ 101-1532. Contemporaneously with the filings of
these petitions, such entities filed a motion requesting joint administration of their chapter 11
cases.

                      SuperMedia Inc.

                      SuperMedia LLC

                      SuperMedia Sales Inc.

                      SuperMedia Services Inc.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

 ----------------------------------------------------------X
                                                            :
In re                                                       :        Chapter 11
                                                            :
SuperMedia Inc., et al.,1                                   :        Case No. 13-[______] ([___])
                                                            :
                                    Debtors.                :        Joint Administration Requested
                                                            :
                                                            :
    ---------------------------------------------------------- X

                               EXHIBIT “A” TO VOLUNTARY PETITION

           1.       SuperMedia Inc.’s securities are registered under section 12 of the Securities

Exchange Act of 1934; the SEC file number is 0001367396.

           2.       SuperMedia Inc. and its subsidiaries file consolidated financial statements. The

following financial data is the latest available information and refers to the Debtors’ condition.

       a. Total assets (as of September 30, 2012)                                                      $1.4 billion

       b. Total debts (as of September 30, 2012)                                                       $1.9 billion

       c. Debt securities held by more than 500 holders                                                        None

       d. Number of shares of preferred stock                                                                  None

                                                                                                    Approximate
                                                                                                      Number
                                                                                                     of Holders
       e. Number of shares of common stock (as of March 14, 2013): 15,664,432                            174

           3.       Brief description of the Debtors’ business: Through their various companies, the

Debtors manage and deliver print, online and wireless publishing and advertising services on

multiple platforms, including: yellow pages, white pages, magazines, online directors and search


1
         The last four digits of the Debtor’s tax identification number are 5175. For the purpose of these chapter 11
cases, the service address for the Debtor is: 2200 West Airfield Drive, P.O. Box 619810, D/FW Airport, Texas,
75261.
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services, website design and hosting services, direct mail and information services for wireless

subscribers.

       4.      The following table is a list of the names of any person who, based upon

information provided to the Debtors, directly or indirectly owns, controls, or holds with power to

vote, 5% or more of the voting securities of SuperMedia Inc., as of March 14, 2013:

                      Paulson & Co. Inc.
                      Restructuring Capital Associates, L.P.
                      Hayman Capital Management, L.P.
                      Schultze Asset Management, LLC




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

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                                                            :
In re                                                       :        Chapter 11
                                                            :
SuperMedia Inc., et al.,1                                   :        Case No. 13-[______] ([___])
                                                            :
                                    Debtors.                :        Joint Administration Requested
                                                            :
                                                            :
    ---------------------------------------------------------- X

                              CORPORATE OWNERSHIP STATEMENT
                             AND LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the undersigned authorized officer of SuperMedia Inc. in the above-captioned case certifies that,
based on information made available to the Corporation, Paulson & Co. Inc. owns 16.6% of the
equity interests in SuperMedia Inc. and Restructuring Capital Associates, L.P. owns 10.8% of the
equity interests in SuperMedia Inc., as of March 14, 2013.

                                            [Signature Page Follows]




1
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cases, the service address for the Debtor is: 2200 West Airfield Drive, P.O. Box 619810, D/FW Airport, Texas,
75261.
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Dated: March 18,2013




                                                      ~~~
                                                        Title: Executive Vice President,
                                                        Chief Financial Officer and
                                                        Treasurer, SuperMedia Inc.




[Signature Page to SuperMedia Inc. Corporate Ownership Statement and List of Equity Security
                                         Holders]
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

    ----------------------------------------------------------X
                                                               :
   In re                                                       :        Chapter 11
                                                               :
   SuperMedia Inc., et al.,1                                   :        Case No. 13-[______] ([___])
                                                               :
                                       Debtors.                :        Joint Administration Requested
                                                               :
                                                               :
       ---------------------------------------------------------- X

                                CONSOLIDATED LIST OF CREDITORS
                            HOLDING THE 30 LARGEST UNSECURED CLAIMS

           The following is a consolidated list of creditors holding the thirty (30) largest unsecured
   claims against the above-captioned debtor and affiliated debtors and debtors-in-possession
   (collectively, the “Debtors”) in the above-referenced chapter 11 cases commenced on the date
   hereof (the “Top 30 List”). The Top 30 List has been prepared from the unaudited books and
   records of the Debtors, and reflects amounts from such records as of March 14, 2013. The
   Debtors file this Top 30 List in accordance with Federal Rule of Bankruptcy Procedure 1007(d)
   and District of Delaware Local Rule Bankruptcy Rule 1007-2. The Top 30 List does not include
   (1) “insiders”, as defined in 11 U.S.C. § 101, or (2) secured creditors, unless an unsecured
   portion of a secured creditor’s claim based on collateral value places the secured creditors among
   the holders of the top thirty (30) largest unsecured claims. The information listed on this list are
   estimates and shall not be binding upon any of the Debtors, and shall not constitute any Debtors’
   admission of liability. Each of the claims listed herein is subject to additional and customary
   offsets, rebates, discounts, reconciliations, or credits, as appropriate.

                                  Name, Telephone Number                Nature of         Indicate if
                                    and Complete Mailing              Claim (Trade          Claim is
                                Address, Including Zip Code,           Debt, Bank         Contingent,
                                                                                                               Amount of
   Name of Creditor                 of Employee, Agent, or                Loan,          Unliquidated,
                                                                                                               Claim ($)
                                   Department of Creditor             Government          Disputed or
                                  Familiar with Claim Who               Contract,          Subject to
                                      May Be Contacted                    Etc.)              Setoff
GOOGLE INC                      Dept 33654
                                                                       Trade Debt         Unliquidated
                                P.O. Box 39000                                                                 3,746,534.29
                                San Francisco, CA 94139
PRODUCT                         20 Ragsdale Dr.
DEVELOPMENT CORP                Suite 100                              Trade Debt         Unliquidated         2,796,334.09
                                Monterey, CA 93940

   1
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   cases, the service address for the Debtor is: 2200 West Airfield Drive, P.O. Box 619810, D/FW Airport, Texas,
   75261.
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                        Name, Telephone Number           Nature of       Indicate if
                          and Complete Mailing         Claim (Trade        Claim is
                      Address, Including Zip Code,      Debt, Bank       Contingent,
                                                                                        Amount of
   Name of Creditor       of Employee, Agent, or           Loan,        Unliquidated,
                                                                                        Claim ($)
                         Department of Creditor        Government        Disputed or
                        Familiar with Claim Who          Contract,        Subject to
                            May Be Contacted               Etc.)            Setoff
CHARTIS INSURANCE     P.O. Box 10472
                                                        Trade Debt       Unliquidated   2,028,792.01
                      Newark, NJ 07193
WEB.COM GROUP INC     12808 Gran Bay Pkwy West
                                                        Trade Debt       Unliquidated   1,240,697.00
                      Jacksonville, FL 32258
DIRECTORY             P.O. Box 338
DISTRIBUTING          Hazelwood, MO 63042               Trade Debt       Unliquidated   1,199,319.08
ASSOCIATES INC
RR DONNELLEY &        22955 Network Place
                                                        Trade Debt       Unliquidated   1,013,360.42
SONS COMPANY          Chicago, IL 60673-1229
ADMARKETPLACE INC     55 Broad Street
                      23rd Floor                        Trade Debt       Unliquidated   1,007,621.60
                      New York, NY 10004
TCS AMERICA           12977 Collections Center Drive
                                                        Trade Debt       Unliquidated    841,121.42
                      Chicago, IL 60693
PREMIER DELIVERY      2010 48 Ave Ct E
                                                        Trade Debt       Unliquidated    760,982.25
SERVICE INC           Fife, WA 98424
SALESFORCE.COM INC    P.O. Box 203141
                                                        Trade Debt       Unliquidated    748,900.00
                      Dallas, TX 75320-3141
xAD INC               Dept La 23812
                                                        Trade Debt       Unliquidated    473,644.64
                      Pasadena, CA 91185-3812
FINDOLOGY             1158 26th St #464
INTERACTIVE MEDIA     Santa Monica, CA 90403            Trade Debt       Unliquidated    354,445.42
INC
ALTERNATE POSTAL      12495 34th Street N
DIRECT INC            Unit D                            Trade Debt       Unliquidated    817,575.46
                      St. Petersburg, FL 33716
ADVANTAGE             P.O. Box 4785
TECHNICAL             Boston, MA 02212                  Trade Debt       Unliquidated    340,633.14
RESOURCING INC
MERIDIAN IT           23618 Network Place
                                                        Trade Debt      Unliquidated     311,742.51
SOLUTIONS INC         Chicago, IL 60673-1236
JINGLE NETWORKS       520 Pike St.
INC                   Suite 2000                        Trade Debt       Unliquidated    237,176.06
                      Seattle, WA 98101
YAHOO! SEARCH         Exchange Center Branch
MARKETING PTY LTD     Sydney, Nsw                       Trade Debt       Unliquidated    223,906.22
                      Nsw2000
NIPPON PAPER          P.O. Box 1626
INDUSTRIES USA CO     Tacoma, WA 98411-6626             Trade Debt       Unliquidated    196,651.25
LTD
ACCENTURE LLP         161 N Clark St.
                                                        Trade debt       Unliquidated    175,624.00
                      Chicago, IL 60601




                                                 2
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                        Name, Telephone Number           Nature of       Indicate if
                          and Complete Mailing         Claim (Trade        Claim is
                      Address, Including Zip Code,      Debt, Bank       Contingent,
                                                                                           Amount of
   Name of Creditor       of Employee, Agent, or           Loan,        Unliquidated,
                                                                                           Claim ($)
                          Department of Creditor       Government        Disputed or
                         Familiar with Claim Who         Contract,        Subject to
                            May Be Contacted               Etc.)            Setoff
CAREMARK              P.O. Box 840336
                                                        Trade Debt       Unliquidated       170,267.18
PRESCRIPTION SVC      Dallas, TX 75284
INFOGROUP INC         P.O. Box 3603
                                                        Trade Debt       Unliquidated       147,989.01
                      Omaha, NE 68103-0603
LETS SEE WHAT         455 South 4th Street
STICKS LLC            Suite 310                         Trade Debt       Unliquidated       144,945.36
                      Louisville, KY 40202
SIRIUS COMPUTER       10100 Reunion Place Ste 500
                                                        Trade Debt       Unliquidated       134,013.49
SOLUTIONS             San Antonio, TX 78216
LOCAL.COM             One Technology Dr
                      Building G                        Trade Debt       Unliquidated       122,452.13
                      Irvine, CA 92618
CATALYST PAPER        5878 Collection Center Drive
                                                        Trade Debt       Unliquidated       118,951.20
(USA) INC             Chicago, IL 60693
TELETECH              Bank Of America
                      12720 Collections Center Drive    Trade Debt       Unliquidated       110,352.10
                      Chicago, IL 60693
FREE PROMOS DAILY,    5603 Sloan Pl
                                                        Trade Debt       Unliquidated       100,410.77
INC.                  Calabasas, CA 91302
MCCR INC              1720 Regal Row Suite 117
                                                        Trade Debt       Unliquidated        97,875.00
                      Dallas, TX 75235
DEALIX                ADP Dealer Services
CORPORATION           P.O. Box 88921                    Trade Debt       Unliquidated        97,568.00
                      Chicago, IL 60695-1921
VERIZON               P.O. Box 101226                                       Partially
                      Atlanta, GA 30392-1226                              contingent,
                                                         Contract                           Unknown
                                                                        unliquidated and
                                                                            disputed




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

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                                                            :
In re                                                       :        Chapter 11
                                                            :
SuperMedia Inc., et al.,1                                   :        Case No. 13-[______] ([___])
                                                            :
                                    Debtors.                :        Joint Administration Requested
                                                            :
                                                            :
    ---------------------------------------------------------- X

                 DECLARATION CONCERNING THE CONSOLIDATED LIST
                OF CREDITORS HOLDING 30 LARGEST UNSECURED CLAIMS

         I, the undersigned authorized director of SuperMedia Inc. in the above-captioned case
(the “Debtor”), declare under penalty of perjury that I have read the foregoing consolidated list
of creditors holding the thirty (30) largest unsecured claims against the Debtor and certain of its
affiliated debtors and debtors-in-possession, and that it is true and correct to the best of my
information and belief.

                                            [Signature Page Follows]




1
         The last four digits of the Debtor’s tax identification number are 5175. For the purpose of these chapter 11
cases, the service address for the Debtor is: 2200 West Airfield Drive, P.O. Box 619810, D/FW Airport, Texas,
75261.
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Dated: March 18,2013



                                                       ~~d./
                                                     -Nati1Jan1ueiD nes
                                                       Title: Executive Vice Presiden4
                                                       Chief Financial Officer and
                                                       Treasurer, SuperMedia Inc.




{Signature Page to SuperMedia Inc. Declaration Concerning the Consolidated List ofCreditors
                          Holding 30 Largest Unsecured Claims]
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                                      SUPERMEDIA INC.

                                   BOARD OF DIRECTORS
                                      RESOLUTIONS

                                         March 15, 2013

        I, Samuel D. Jones, a duly authorized officer of SuperMedia Inc., a Delaware corporation
(the “Corporation”), hereby certify that a special telephonic meeting of the Board of Directors of
the Corporation (the “Board”) duly called and held on March 15, 2013, pursuant to notice duly
given in accordance with the By-Laws of the Corporation, the Board duly adopted the following
resolutions in accordance with the requirements of the Delaware General Corporation Law and
that said resolutions have not been modified or rescinded and are still in full force and effect on
the date hereof:

       WHEREAS, SuperMedia Inc., a Delaware corporation (the “Corporation”), is party to,
and the Board of Directors of the Corporation (the “Board”) has approved, that certain Amended
and Restated Agreement and Plan of Merger, dated as of December 5, 2012 (the “Merger
Agreement”), by and among the Corporation, Dex One Corporation (“Dex”), NewDex, Inc., a
Delaware corporation and a wholly owned subsidiary of Dex (“Newco”), and Spruce Acquisition
Sub, Inc., a Delaware corporation and a wholly owned subsidiary of Newco (“Spruce Merger
Sub”), pursuant to which (i) Dex will merge with and into Newco, with Newco continuing as the
surviving entity (the “Dex Merger”), and (ii) immediately following the consummation of the
Dex Merger, Spruce Merger Sub will merge with and into the Corporation, with the Corporation
continuing as the surviving entity (the “SuperMedia Merger,” and together with the Dex Merger,
the “Merger”);

        WHEREAS, the Corporation is party to, and the Board has approved, that certain
Support and Limited Waiver Agreement, dated as of December 5, 2012 (the “Support
Agreement”), by and among the Corporation, certain subsidiaries of the Corporation, certain
lenders under the Corporation’s senior secured credit facility, as amended (the “Consenting
Lenders”), and JPMorgan Chase Bank, N.A., pursuant to which the Corporation agreed to take
certain steps in furtherance of the Merger Agreement and the transactions contemplated thereby,
including reasonably necessary and appropriate actions to obtain executed signature pages to the
Support Agreement and certain amendments to the Corporation’s senior secured credit facility as
set forth in the Support Agreement from lenders holding 100% of the loans under the senior
secured credit facility and the solicitation of votes on a prepackaged plan of reorganization of the
Corporation and certain subsidiaries under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”), as amended, attached to the Support Agreement (as may be altered,
amended, modified, or supplemented from time to time, including the plan supplement and all
exhibits, supplements, appendices, and schedules, the “Prepackaged Plan”), and the Consenting
Lenders agreed to support such steps taken by the Corporation and vote to accept the
Prepackaged Plan in accordance with the terms set forth in the Support Agreement;

        WHEREAS, the Prepackaged Plan has been submitted to the stockholders of the
Corporation (the “Stockholders”) and the lenders under the Corporation’s senior secured credit
facility (the “Secured Lenders”), and the classes of Stockholders and Secured Lenders have
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voted to accept the Prepackaged Plan in the amount and number required by the Bankruptcy
Code; and

        WHEREAS, because the Corporation has not obtained the unanimous approval of the
Secured Lenders to the proposed amendments to the Corporation’s senior secured credit facility,
the Board has determined that it is necessary to file a petition seeking relief under the provisions
of chapter 11 of the Bankruptcy Code in order to consummate the Merger and related
transactions (collectively, the “Transaction”) through the Prepackaged Plan;

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the Corporation’s best interest, and the interests of the Corporation’s creditors,
employees, and other interested parties, that the Corporation file a petition seeking relief under
the provisions of chapter 11 of the Bankruptcy Code, and, upon the occurrence of the effective
date of the Prepackaged Plan, to consummate the Transaction;

        FURTHER RESOLVED, that each of the President and Chief Executive Officer, the
Executive Vice President, Chief Financial Officer and Treasurer, and the Executive Vice
President, General Counsel and Secretary of the Corporation (collectively, the “Authorized
Officers”), is hereby authorized, empowered, and directed, in the name of and on behalf of the
Corporation, to execute and verify petitions and amendments thereto under chapter 11 of the
Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy Court for the
District of Delaware at such time as any such Authorized Officer shall determine;

        FURTHER RESOLVED, that the law firm of Cleary Gottlieb Steen & Hamilton LLP is
hereby engaged as attorneys for the Corporation, under a general retainer, in the chapter 11 case
of the Corporation (the “Chapter 11 Case”), subject to any requisite bankruptcy court approval,
to represent and assist the Corporation in carrying out its duties under the Bankruptcy Code and
related matters, and to take any and all action to advance the Corporation’s rights and
obligations; and, in connection therewith, the Authorized Officers are hereby authorized,
empowered, and directed, for and on behalf of the Corporation, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Chapter 11
Case, and cause to be filed an appropriate application for authority to retain the services of
Cleary Gottlieb Steen & Hamilton LLP;

        FURTHER RESOLVED, that the law firm of Fulbright & Jaworski L.L.P. is hereby
engaged as attorneys for the Corporation, under a general retainer, in the Chapter 11 Case,
subject to any requisite bankruptcy court approval, to act as special counsel and assist the
Corporation in the Chapter 11 Case and related matters, and to take any and all action to advance
the Corporation’s rights and obligations; and, in connection therewith, the Authorized Officers
are hereby authorized, empowered, and directed, for and on behalf of the Corporation, to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be filed an appropriate application for authority to
retain the services of Fulbright & Jaworski L.L.P.;

        FURTHER RESOLVED, that the law firm of Young Conaway Stargatt & Taylor LLP
is hereby engaged as attorneys for the Corporation, under a general retainer, in the Chapter 11


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Case, subject to any requisite bankruptcy court approval, to act as Delaware counsel and assist
the Corporation in the Chapter 11 Case and related matters, and to take any and all action to
advance the Corporation’s rights and obligations; and, in connection therewith, the Authorized
Officers are hereby authorized, empowered, and directed, for and on behalf of the Corporation,
to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Chapter 11 Case, and cause to be filed an appropriate application for
authority to retain the services of Young Conaway Stargatt & Taylor LLP;

       FURTHER RESOLVED, that the financial and restructuring firm Chilmark Partners,
LLC, which has been engaged by the Board, is hereby authorized and directed to make itself
available to the Corporation and perform any and all actions in connection with the Chapter 11
Case with a view to the successful prosecution of the Chapter 11 Case;

        FURTHER RESOLVED, that the Authorized Officers are hereby authorized,
empowered, and directed, for and on behalf of the Corporation, to engage and employ Epiq
Bankruptcy Solutions, LLC, as may be necessary, proper, or desirable and subject to any
requisite bankruptcy court approval, including, without limitation, to act as administrative
advisor and solicitation and noticing agent for the Corporation in the Chapter 11 Case and to
perform other tasks related to the Corporation’s Chapter 11 Case;

        FURTHER RESOLVED, that the Authorized Officers are hereby authorized,
empowered, and directed, in the name of and on behalf of the Corporation, to engage and employ
such other law firms, consultants, or companies as may be necessary, proper, or desirable, and
subject to any requisite bankruptcy court approval, including without limitation, to act as special
and conflicts counsel for the Corporation, under a general retainer, to assist the Corporation in
the Chapter 11 Case, and to perform tasks related to the Corporation’s Chapter 11 Case;

        FURTHER RESOLVED, that the Authorized Officers, and any employees or agents
(including counsel) designated by or directed by any such Authorized Officer, are hereby
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to execute
and file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and in
connection therewith, to employ and retain all assistance by legal counsel, accountants, financial
advisors, and other professionals and to perform any and all further acts and deeds the
Authorized Officers deem necessary, proper, or desirable in connection with the Chapter 11 Case
with a view to the successful prosecution of the Chapter 11 Case, such determination to be
conclusively evidenced by the taking of such action;

        FURTHER RESOLVED, that in connection with the commencement of the Chapter 11
Case by the Corporation, the Authorized Officers are hereby authorized, empowered, and
directed, in the name of and on behalf of the Corporation, to negotiate, execute, and deliver a
cash collateral stipulation on the terms and conditions such officer or officers executing the same
may consider necessary, proper, or desirable, such determination to be conclusively evidenced
by such execution or the taking of such action, and to consummate the transactions contemplated
by such agreements or instruments on behalf of the Corporation and any affiliates;




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        FURTHER RESOLVED, that the Authorized Officers, and any employees or agents
(including counsel) designated by or directed by any such Authorized Officer, are hereby
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to cause
the Corporation to enter into, execute, deliver, certify, file, record, and perform, such
agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certifications, or other documents and to take such other
actions, as in the judgment of such officer shall be or become necessary, proper, or desirable to
effect the successful prosecution of the Chapter 11 Case;

       FURTHER RESOLVED, that in the judgment of the Board, it is desirable and in the
Corporation’s and its subsidiaries’ best interest, and the interests of the Corporation’s and its
subsidiaries’ creditors, employees, and other interested parties, that the Corporation authorize
each of its direct and indirect subsidiaries (other than SuperMedia UK, Ltd.) to file a petition
seeking relief under the provisions of chapter 11 of the Bankruptcy Code simultaneously with the
Chapter 11 Case;

        FURTHER RESOLVED, that the Authorized Officers are hereby authorized,
empowered, and directed, in the name of and on behalf of the Corporation, to take all such
further actions, including, but not limited to, (i) the negotiation of such additional agreements,
amendments, supplements, reports, documents, instruments, applications, notes, or certificates
not now known but which may be required, (ii) the negotiation of such changes and additions to
any agreements, amendments, supplements, reports, documents, instruments, applications, notes,
or certificates currently existing, (iii) the execution, delivery, and filing (if applicable) of any of
the foregoing, and (iv) the payment of all fees, consent payments, taxes, and other expenses as
any such officer, in his or her sole discretion, may approve or deem necessary, proper, or
desirable in order to carry out the intent and accomplish the purposes of the foregoing resolutions
and the transactions contemplated thereby, all of such actions, executions, deliveries, filings, and
payments to be conclusive evidence of such approval or that such officer deemed the same to be
so necessary, proper, or desirable; and that all such actions, executions, deliveries, filings, and
payments taken or made at any time in connection with the transactions contemplated by the
foregoing resolutions hereby are approved, adopted, ratified, and confirmed in all respects as the
acts and deeds of the Corporation as if specifically set out in these resolutions; and

        FURTHER RESOLVED, that any and all past actions heretofore taken by officers or
directors of the Corporation or its subsidiaries in the name and on behalf of the Corporation or its
subsidiaries in furtherance of any or all of the preceding resolutions be, and the same hereby are,
approved, adopted, ratified, and confirmed.




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